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CIVIL DISTRICT COURT FOR THE PARISH OF ORLEANS

STATE OF LOUISIANA

CIVIL DOCKET noon 3A DIVISION: ‘ -} 5

IN RE: HURRICANE IDA CLAIMS
GIANNI INVESTMENTS, LLC
VERSUS
SAFEPOINT INSURANCE COMPANY

FILED:

DEPUTY CLERK

PETITION FOR DAMAGES

MAY IT PLEASE THE COURT:

NOW INTO COURT, through undersigned counsel, comes Petitioner, GIANNI
INVESTMENTS, LLC, (hereinafter “Petitioner”) a Louisiana limited liability company,
domiciled and with its principal place of business located in the Parish of Orleans, State of
Louisiana, who respectfully represents:

I. DEFENDANT
I

Made Defendant herein is SAFEPOINT INSURANCE COMPANY, a foreign insurance
company licensed to and doing business in the Parish of Orleans, State of Louisiana, with a
principal place of business address of 12640 Telecom Drive, Temple Terrace, FL, 335637
(“Defendant”).

Il. JURISDICTION AND VENUE
2.

Jurisdiction is proper in this Honorable Court as this Court maintains subject matter

jurisdiction over the dispute based on the object of demand and the amount in controversy.
3.
Venue is proper in this Parish pursuant to La C.C.P. arts. 74 and 76.1. The wrongful

conduct that forms the basis of this pleading occurred in this Parish; the damages to Petitioner
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were sustained in this Parish; the contracts between Petitioner and Defendant that form the basis
of this pleading were executed in this Parish; and the work or service performed from the contracts
was in this Parish.
iI. BACKGROUND AND FACTS

4.

Pertinent to this lawsuit, Petitioner owns the immovable property with improvements
bearing municipal address 7601 Devine Avenue, New Orleans, Louisiana 70127 (the “Property”).
5.

At all pertinent times herein, Defendant issued a policy of homeowners insurance to
Petitioner for the Property under Policy No. SLAD2015181-04 covering Petitioner for damages
to Petitioner’s dwelling, other structures, and contents located on the Property and loss of fair
rental value incurred by Petitioner resulting from perils, including hurricanes.

6.

On or about August 29, 2021, Hurricane Ida made landfall in Southeast Louisiana causing
damage to the dwelling, other structures, and personal property located on the Property and loss
of fair rental value for Petitioner.

7.

Petitioner reported the loss to Defendant who assigned Petitioner Claim No. 57930 (the
“Claim”).

8.

Petitioner took steps to mitigate his damages to best of Petitioner’s ability and eventually
provided Defendant with satisfactory proof of loss including, but not limited to: (a) itemized repair
estimates for damages the dwelling and other structures; (b) itemized list of damaged contents;
and (c) proof of loss of fair rental value incurred by Petitioner.

9.

At some point, Defendant inspected the Property and documented the damages sustained

as a result of Hurricane Ida (the “Jnspection”).
10.
The Inspection constituted satisfactory proof of loss as required per La. R.S. § 22:1892

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and 1973.
11.

By filing the Claim and providing Defendant with damage information and access to the
Property, satisfactory proof of loss as required per La. R.S. § 22:1892 and 1973 was accomplished.
12.

On or about July 5, 2023, undersigned counsel, on behalf of Petitioner, sent Defendant a
demand letter requesting an unconditional tender of $99,298.04 for damages to the Property from
Hurricane Ida, and enclosed an itemized repair estimate (the “Demand’).

13.

By filing the Claim, allowing Defendant to inspect the Property, sending damage
information, and sending the Demand with enclosures, Petitioner has further submitted satisfactory
proof of loss to Defendant as required per La. R.S. § 22:1892 and 1973.

14.

Due to Defendant’s refusal to pay the amount owed to Petitioner on the Claim, Petitioner
was forced to utilize funds from other sources to repair as much damage to the Property as feasible
and expend an enormous amount of time, money and energy attempting to get Defendant to pay
the full value of the Claim.

15.
To date, despite being provided with satisfactory proof of loss, Defendant has failed to
timely and adequately tender payment to Petitioner on the Claim.
16
The failure of Defendant to adequately pay the Claim despite satisfactory proof of loss
and the time and manner which the Claim was processed was all arbitrary, capricious, and/or
without probable cause, thereby rendering Defendant liable in bad faith in violation of Louisiana
law as set forth below.
IV. CAUSES OF ACTION
A. Breach of Insurance Contract
17.
Petitioner re-alleges and incorporates the above paragraphs as if fully set forth herein.

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18.

The Policy is a valid, binding legal insurance contract between Petitioner and Defendant.

19.

The Policy provides coverage to Petitioner for the damages to the dwelling, other

structures, personal property, and loss of fair rental value as a result of Hurricane Ida.

20.

Defendant has breached the insurance contract in the following ways:

a)
b)
c)

d)

8)

h)

i)

k)
I)

Failing to timely and adequately initiate Petitioner’s losses per the Claim;

Failing to timely and adequately calculate Petitioner’s losses per the Claim;
Failing to timely and adequately tender proceeds to cover damage sustained to the
dwelling located on the Property;

Failing to timely and adequately tender proceeds to cover damages sustained to the
other structures located on the Property;

Failing to timely and adequately tender proceeds to cover damages sustained to the
personal property located on the Property;

Failing to timely and adequately tender proceeds to cover the loss of fair rental
value incurred by Petitioner;

Failing to timely and adequately tender proceeds after receiving satisfactory proof
of loss;

Failing to timely and adequately tender undisputed proceeds after receiving the
satisfactory proof of loss;

Failing to make a written offer to settle the Claim within the time constraints
allowed under Louisiana law;

Purposely and/or negligently misrepresenting to Petitioner the terms and conditions
of the Policy;

Failing to evaluate and process the Claim in good faith and fair dealing;

Refusing to timely and adequately communicate with Petitioner during the Claims

process; and

m) Other ways which will be shown at trial.

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21.
Defendant’s breach of the insurance contract was in bad faith.
22.

Petitioner has fully and satisfactorily performed all of his obligations pursuant to the

insurance contract, yet Defendant has failed to perform.
23.
As a result of Defendant’s breach, Petitioner has been damaged as set forth below and
continues to incur damages daily.
B. Violation of La. R.S. § 22:1892
24.
Petitioner re-alleges and incorporates the above paragraphs as if fully set forth herein.
25.

Pursuant to La. R.S. § 22:1892, Defendant was required to: (a) pay the Claim and make a
written offer to settle the Claim within thirty (30) days after receipt of satisfactory proof of loss
and (b) initiate loss adjustments within sixty (60) days after notification of loss by Petitioner.

26.

The Inspection constituted satisfactory proof of loss which triggered the statutory deadlines

per La. R.S. § 22:1892 to pay the Claim and make a written offer to settle the Claim.
27.

When Petitioner provided Defendant damage information, or, at the latest, when the
Demand was provided to Defendant satisfactory proof of loss was accomplished which triggered
the statutory deadlines per La. R.S. § 22:1892.

28.

To date, Defendant has failed to make a written offer to settle the Claim and initiate loss

adjustments within the statutory deadlines per La. R.S. § 22:1892.
29.

Defendant’s violations of the duties set forth above were arbitrary, capricious, and/or

without probable cause.

30.
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For Defendant’s violations of La. R.S. § 22:1892 as set forth above, Petitioner is entitled

to recover, in addition to the amount of the Claim, statutory penalties of fifty percent of the amount

found to be due from Defendant to Petitioner, or one thousand dollars, whichever is greater, as

well as reasonable attorney fees and costs.

Cc. Violation of La. R.S. § 22:1973

31.

Petitioner re-alleges and incorporates the above paragraphs as if fully set forth herein.

32.

Pursuant to La. R.S. § 22:1973, Defendant owed Petitioner a duty of good faith and fair

dealing and to adjust the Claim fairly and promptly.

33.

Defendant violated these duties as follows:

a)
b)
¢)

d)

8)

h)

i)

Failing to timely and adequately initiate Petitioner’s losses per the Claim;

Failing to timely and adequately calculate Petitioner’s losses per the Claim;
Failing to timely and adequately tender proceeds to cover damage sustained to the
dwelling located on the Property;

Failing to timely and adequately tender proceeds to cover damages sustained to the
other structures located on the Property;

Failing to timely and adequately tender proceeds to cover damages sustained to the
personal property located on the Property;

Failing to timely and adequately tender proceeds to cover the loss of fair rental
value incurred by Petitioner;

Failing to timely and adequately tender proceeds after receiving satisfactory proof
of loss;

Failing to timely and adequately tender undisputed proceeds after receiving the
satisfactory proof of loss;

Failing to make a written offer to settle the Claim within the time constraints
allowed under Louisiana law;

Purposely and/or negligently misrepresenting to Petitioner the terms and conditions

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of the Policy;
k) Failing to evaluate and process the Claim in good faith and fair dealing;
]) Refusing to timely and adequately communicate with Petitioner during the Claims
process; and
m) Other ways which will be shown at trial.
34.

Defendant’s violations of the duties set forth above were arbitrary, capricious, and/or
without probable cause.

35.

For Defendant’s violations of La, R.S. § 22:1973, as set forth above, Petitioner is entitled
to recover, in addition to the amount of the Claim, an amount equal to two times the damages
sustained by Petitioner, as set forth below, or five thousand dollars, whichever is greater, as well
as reasonable attorney fees and costs.

D. Negligent Claims Adjusting
36.
Petitioner re-alleges and incorporates the above paragraphs as if fully set forth herein.
37.

For all of the above actions and inactions of Defendant as set forth above, Defendant is
liable to Petitioner under the legal theory of negligent claims adjusting entitling Petitioner to the
damages set forth below.

Vv. DAMAGES
38.
Petitioner re-alleges and incorporates the above paragraphs as if fully set forth herein.
39.
As a direct result of Defendant’s actions, inactions, and omissions described above and
which will be proven at trial, Petitioner is entitled to recover the following from Defendant:
a) Diminution of the value of the Property;
b) Costs to adequately repair damages to the dwelling, other structures, and
contents located on the Property;

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c) Loss of fair rental value;

d) Reimbursement for repairs Petitioner made to the Property;

e) Costs for content manipulation to repair the Property;

f) Inconvenience;

g) Mental anguish;

h) Repair and remediation expenses;

i) Loss of use of enjoyment of the Property;

J) Loss of investment value of funds used to offset Defendant’s failure to pay,
including lost interest;

k) Statutory penalties, damages, attorneys’ fees, and costs per La. C.C. art. 1997;

1) Statutory penalties, damages, attorneys’ fees, and costs per La. R.S. §
22:1892;

m) Statutory penalties, damages, attorneys’ fees, and costs per La. R.S. §
22:1973;

n) Statutory penalties, damages, attorneys’ fees, and costs per La. R.S. § 22:1895;

©) Pecuniary and non-pecuniary damages;

p) Penalties, damages, and attorneys’ fees;

q) Other professional fees and costs of litigation;

rt) Costs of these proceedings;

s) Costs of estimates, estimators, adjusters, professions, and/or experts; and

t) Other damages as will be shown at trial

(collectively, the “Damages”).
VI. JURY DEMAND
40.

Petitioner demands a trial by jury on all issues.

WHEREFORE, Petitioner, GIANNI INVESTMENTS, LLC, prays Defendant,
SAFEPOINT INSURANCE COMPANY, be served with a copy of this Petition for Damages
and be duly cited to appear and answer the same, and that after due proceedings are had there be
judgment in favor of Petitioner, GIANNI INVESTMENTS, LLC, and against Defendant,

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SAFEPOINT INSURANCE COMPANY, in a principal sum to adequately compensate
Petitioner for the Damages set forth herein, with legal interest thereon from the date of judicial
demand until paid in full, attorneys’ fees, expenses, all costs of these proceedings, and for all other
general and equitable relief this Honorable Court deems lawful, proper, and just.

Respectfully submitted,

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PLEASE SERVE:

SAFEPOINT INSURANCE COMPANY

Through their registered agent for service of process:
Louisiana Secretary of State

8585 Archives Ave.

Baton Rouge, LA 70809
